Case 1:21-cv-00268-JAO-KJM Document 72 Filed 08/16/21 Page 1 of 1                PageID #: 2446



                               AMENDED MINUTES



   CASE NUMBER:            1:21-CV-00268-JAO-KJM
   CASE NAME:              Francisco Alvarado, et al v. State of Hawaii, Department of
                           Public Safety, et al.
   ATTYS FOR PLA:          *Eric A. Seitz
                           *Gina May Szeto-Wong
                           Kevin A Yolken
   ATTYS FOR DEFT:         *Clare E. Connors
                           Kendall J. Moser
                           Skyler G. Cruz


        JUDGE:       Kenneth J. Mansfield         REPORTER:        AT&T Service

        DATE:        08/16/2021                   TIME:            8:30 - 9:07


  COURT ACTION: EP:            TELEPHONIC STATUS CONFERENCE held.

  Discussion held.

  Arguments heard.

  Further Status Conference is set for August 19, 2021 at 1:00 p.m. before Magistrate
  Judge Kenneth J. Mansfield by Video Tele-Conference (VTC).

  The Courtroom Manager will be sending out a separate email providing counsel detailed
  instructions regarding Settlement Conferences Video Tele-Conference (VTC) access
  prior to the conference date.

  Court to prepare an Order.




  Submitted by: Bernie Aurio, Courtroom Manager
